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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                               Case No. 21-cv-21601-DAMIAN



 RONDEL HAUGHTON,

        Plaintiff,

 vs.

 UNITED STATES DEPARTMENT
 OF EDUCATION,

       Defendant.
 _____________________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS CAUSE is before the Court on the Parties’ Stipulation of Dismissal

 (“Stipulation”). [ECF No. 37]. The Court has reviewed the Stipulation, the Settlement

 Agreement and Release, the pertinent portions of the record and is otherwise fully advised in

 the premises. In the Stipulation, the Parties agree to dismissal of this action with prejudice

 and request that the Court retain jurisdiction to enforce the terms of the Settlement

 Agreement. Accordingly, and pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it

 is hereby

        ORDERED and ADJUDGED as follows:

        1.      The above-styled case is hereby DISMISSED WITH PREJUDICE. The Court

 shall retain jurisdiction to enforce the terms of the Settlement Agreement.

        2.      Any pending motions in this case are hereby DENIED AS MOOT.

        3.      All discovery, motion practice deadlines, Pretrial Conference and Trial dates

 are hereby canceled.
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       4.    The Clerk is directed to CLOSE this case.

       DONE and ORDERED in Chambers at Miami, Florida, this 20th day of July 2022.



                                        ___________________________________
                                        MELISSA DAMIAN
                                        UNITED STATES MAGISTRATE JUDGE



 cc:   Counsel of Record




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